     Case 2:20-cv-11601-MRA-PVC   Document 40    Filed 07/29/22   Page 1 of 2 Page ID
                                       #:296

1 Kathleen Jorrie (SBN 121578)
  Jeffrey D. Wexler (SBN 132256)
2 PILLSBURY WINTHROP SHAW             PITTMAN LLP
  725 South Figueroa Street, 36th Floor
3 Los Angeles, CA 90017-5524
  Telephone: 213.488.7100
4 Facsimile: 213.629.1033
  kathy.jorrie@pillsburylaw.com
5 jeffrey.wexler@pillsburylaw.com
6 Attorneys for Plaintiff AEG Presents LLC
7
8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
12      AEG PRESENTS LLC, a Delaware         Case No. 2:20-cv-11601-VAP-PVC
        limited liability company,
13                                           ORDER CONTINUING PRETRIAL
                   Plaintiff,                AND TRIAL DATES BY ONE YEAR
14                                           BASED UPON PENDING CRIMINAL
             vs.                             PROCEEDINGS
15
        YSL TOURING LLC, a Georgia           Pre-Trial Conference: October 17, 2022
16      limited liability company; JEFFERY   Trial Date:           October 25, 2022
        LAMAR WILLIAMS, an individual;
17      and YOUNG STONER LIFE
        PUBLISHING, LLC, a Georgia
18      limited liability company,
19                 Defendants.
20
21
22
23
24
25
26
27
28
                                             1
                                                                              4883-2151-4026
     Case 2:20-cv-11601-MRA-PVC     Document 40     Filed 07/29/22     Page 2 of 2 Page ID
                                         #:297

 1         GOOD CAUSE APPEARING, it is ORDERED that the pretrial and trial dates
 2 set in the April 14, 2022 Order Continuing Pretrial and Trial Dates by Three Months
 3 [Dkt 38] are continued as follows:
 4                              Matter                                Proposed New Date
 5      Deadline for Initial Designation of Expert Witnesses         July 31, 2023
 6      Deadline for Designation of Rebuttal Expert Witnesses        August 14, 2023
 7      Discovery Cut-Off                                            September 5, 2023
 8      Summary Judgment Motion Hearing Cut-Off                      September 18, 2023
                                                                     at 2:00 p.m.
 9
        Pretrial Conference                                          October 16, 2023
10                                                                   at 2:30 p.m.
11      Jury Trial                                                   October 24, 2023
                                                                     at 8:30 a.m.
12
13         IT IS SO ORDERED.
14
15 Dated: July 29, 2022
16
                                     Honorable Virginia A. Phillips
17
                                     United States District Judge
18
19
20
21
22
23
24
25
26
27
28
                                               2
                                                                                     4883-2151-4026
